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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION


BEATRICE COOMER, TARIN COX,
LINDSEY CULVER, BRITTANY DAVEY,
TINA EDWARDS, ALISHA GARCIA,
BRITTANY GREGORY, DEJONAE HAWKINS,
COURTNEY HUFF, ROXANNE HUMPHREY,
JESSICA JAGGER, MARY JOHNSON,
ASHLEY LAMES, JULIE LAWSON,
TABATHA RUDOLPH, ASHLEY SANTIAGO,
APRIL SNYDER, AMANDA WATERS,
VICTORIA WIMP, and CARRIE WISEMAN
      Plaintiffs,


       V.
                                                  CASE NO. 4:22-cv-00079-TWP-DML
                                                  JURY TRIAL DEMANDED


JAMIE NOEL, in his individual
and official capacity as Clark County Sheriff,
DAVID LOWE, and
UNNAMED OFFICERS OF THE CLARK
COUNTY SHERIFF’S DEPARTMENT,
in their individual and official capacities
         Defendants.

                              SUMMONS IN A CIVIL ACTION

To:    Unnamed Officers at the Clark County Sheriff’s Department
       501 East Court Ave. #159
       Jeffersonville, Indiana 47130

       A lawsuit had been filed against you. Within 21 days after service of this
summons on you (not counting the day you received it) or 60 days if you are a
United States agency, or an officer or employee of the United States as
described in Fed. R. Civ. P. 129(a)(2) or (3) you must serve on the plaintiff am
answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff
or plaintiff’s attorney, whose name and addresses are:
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      Bart Betteau                                William P. McCall III
      Betteau Law Office                          332 Spring Street
      1212 State Street                           Jeffersonville, IN 47130
      New Albany, Indiana 47150

       If you fail to respond, judgment by default will be entered against you for
the relief demanded in the complaint. You also must file your answer or motion
within the Court.

                                            Clark of Court


Date: __June 22, 2022__                     __________________________________
                                            Signature of Clark or Deputy Clark
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Civil Action Number:                                           Civil Summons (Page 3)

                                 PROOF OF SERVICE


(This section should not be filed with the Court unless required by Fed. R. Civ. P. 4(1))

       This summons for (name of individual and title, if any) _________________________
was received by me on (date)__________.
    I personally served the summons on the individual at (place)______________
   _______________________________ on (date)________________________; or
    I left the summons at the individual’s residence or usual place of abode with
   (name) __________________, a person of suitable age and discretion who resides
   there, on (date) ___________________, and mailed a copy to the individual’s last
   known address; or
    I served the summons on (name of individual) ________________________, who is
   designated by law to accept service of process on behalf of (name of organization)
   ________________________________ on (date) _________________; or
    I returned to service unexcepted because ______________________________; or
    Other (specify):
My fees are $ ________ for travel and $ _________ for service, for a total of $___________.


I declare under penalty of perjury that this information is true.


Date: _________________                          _________________________________
                                                 Server’s Signature


                                                 __________________________________
                                                 Printed Name and Title


                                                 ___________________________________
                                                 Server’s address
